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IN THE UNITED STATES D!STRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO I)IV!SION
SPIRIT MONKEY, LLC., §
Plaintiff, § Civil Action No: 5:17»ov-458-DAE
V- §
§
POSITIVB PROMOTIONS, INC. §
Defendant. §

W

WHEREAS, Spirit Monkcy, LLC, (“Spirit Monkey") filed the above-captioned action
contending that U.S. Patent No. 9,196,174 (the “‘174 Patent”) is valid, and infringed, and for
claims of Federal False Design_ation of Origin or Source, Common Law Unfair Competition,
Common Law Palmiug Ofi` and T.exas State Dilution (collcctively referred to as “CLAIMS”)
Spirit Monkey and Positive Pnomotions, Inc. (“Positive Promotions”) may be individnally
referred to as a ‘°Paxty” or collectively referred to as the “Pal‘ties”;

WI~IBREAS, Posilive 13romotions has not answered or otherwise moved in response to
the Complaint [Doc. 1];

WHBREAS, Positive Promotions has agreed to cease making, using and selling products
accused ofinfringement in the above-captioned aetion; and

WHBRBAS, the parties want to eliminate the uncertainties and cost of litigation by fuily,
finally end amicably resolving the above~captioned action.

IT IS H`BRBBY STIPULATBD AND AGRBED by and between counsel for the Parties,
subject to the approval of the Court, as follows.

1 _ This Court has jurisdiction over the subject matter of this action.

2. U.S. Patent No. 9,196,174 is valid.

 

 

 

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3.' U..S Patent No. 9,196,174 is infringed by the accused “Positive Patch”` products
that are the subject of the Complaint filed herein, including the type of items shown in
paragraphs 54-55 of the Complaint (“Accused Products”).

4. Positive Promotions will cease and desist and is enjoined from making, using and
selling the Accused Products or embroidered fabric products covered by the claims ci' U.S.
Patent 9,196,174, and from any unauthorized use of Spirit Monkey’s “SPIRIT STICKS”
trademark, directly or' indirectly, and the alleged violations of the CLAIMS subject to the
following exception

5. Positive Promotions may sell its existing inventory of Accused Produots
consisting cf 2,049 packets at Positive Promotions’ ordinary and customary pricing for
discontinued merchandise by October l, 2017, without any use cf the “SPIRIT S'I'ICKS”
tradem'ai'lc.

6. Positive Promotions will destroy any inventory of Accused Products remaining
after Ootober l, 2017.

7. In consideration of the foregoing, Spirit Menkcy covenants not to sue Positive
Promotions,' its successors, assigns, agents, officers, directors, subsidiaries, afi'lliates, employees,
and attorneys for the CLAIMS and any and all actions, claims, causes of action, demands,
expenses or damages, whether asserted or unasserted, known or unknown, of whatever'kind,
nature and/or description which accrued prior to the date of this Stipulation and Order.

8. The Clerk is instructed to close this action

9. Each party shall bear its own costs and fees.

lO. 'Ihe Parties waive any right of appeal ii’om this Order.

 

 

 

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ll. The Court retains jurisdiction over the Parties to enforce the terms of this Ox'der
on motion of either Party.
IT IS SG ORDERED.

§ t l '
Signed this l day of September, 2017.

  

 

DAVID A. BZRA

 

UNITED STATBS DI IC'I` JUDGE
APPROVED AS TO PORM:
Charles W. Hanor

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